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                                  CERTIFICATE OF SERVICE

         I, Daniel Chorost, hereby certify that:

         On October 13, 2023, I caused a copy of the attached Answer to be served on the

  following persons:

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         I declare under penalty of perjury that the foregoing is true and correct.

  Dated: October 13, 2023                              /s/ Daniel Chorost
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